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EASTERN DISTRICT Cy CALIFORNIA , Cc

  

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3.Section 703 as independent grant of subject matter jurisdiction .

Predecessor to 5 USCS § 703 does not itself establish jurisdiction of federal courts over action not

‘ otherwise cognizable by them. Kansas City Power & Light Co. v. McKay, 225 F.2d 924, 96 U.S. App.

D.C. 273, 8 Pub. Util. Rep. 3d (PUR) 414 (D.C. Cir.), cert. denied, 350 U.S. 884, 76 S. Ct. 137, 100 L.
Ed. 780 (1955). oo . Co

Predecessor to 5 USCS § 703 does not render competent court which lacks jurisdiction on any other

- ground. Pan American World Airways, Inc. v. Civil Aeronautics Board, 392 F.2d 483, 129 U.S. App. D.C.
"159, 10 Av. Cas. (CCH) {] 17673 (D.C. Cir. 1968).

Judicial review of Secretary of Labor's attorney's fees award under Federal Employees’
Compensation Act (FECA) was precluded under § 703, where FECA in unmistakable terms evinced
congressional intent to foreclose judicial review of Secretary’s award of attorney’s fees. and where
legislative history of FECA evincing intent to increase benefits to federal employees while saving _
government expense of defending claims under various other acts indicated that appellants’ attempt to
bring administrative matter into federal court directly contradicted legislative purpose behind FECA,
since nothing in § 703 confers authority to grant relief if any other statute that grants consent to suit
expressly or impliedly forbids relief which is sought. Hamby v. Janer, 808 F.2d 1433 (11th Cir. 1987).

Uniess Congress specifically ‘maps judicial review path for agency, review may be had in federal
District Court under its general federal question jurisdiction, 28’ USCS. § 1331. Owner-Operators
Independent Drivers Ass'n v. Skinner, 931 F.2d 582, 91 Cal. Daily Op. ‘Service 2976, 91 D.A.R. 4793 .

"(9th Cir. 1991).

Appellate jurisdiction was lacking as to alleged federal action in not removing dismissed
misdemeanor citation from. database on truck drivers’ safety records after state agency refused to —
remove it; such-federal action was not rule, regulation, or order, and thus transfer of case to district court
was appropriate. Weaver v. Fed. Motor Carrier Safety Admin., 744 F.3d 142, 408 U.S. App. D.C. 361
(D.C. Cir. 2014).

“ § USCS § 703 is jurisdictional statute where jurisdiction is otherwise unattainable. Etheridge v.
Schlesinger, 362 F. Supp. 198 (E.D. Va. 1973).

Failure to seek judicial review under Administrative Procedure Act of reparations award’ made by

_ Secretary of Agriculture under 7 USCS § 210 does not bar court from granting relief more extensive than

that given by Secretary since Administrative Procedure Act is not independent jurisdictional provision.
Rowse v. Platte Valley Livestock, Inc., 604 F. Supp. 1463 (D. Neb. 1985).

Requester of records under Privacy Act could not establish jurisdiction over claims under
Administrative Procedure Act (APA) because relief authorized under APA was not award for money
damages; federal district courts were proper fora for APA actions. Braun v. United States, 144 Fed. Cl.
560, 2019 U.S. Claims LEXIS 1092 (Fed. Cl. Aug. 30, 2019).

4.—Amount in controversy

Administrative Procedure Act authorizes District Courts to entertain suits challenging validity of
agency action without regard to amount in controversy, or other requirements contained in alternate

jurisdictional statutes. Associated Dry Goods Corp. v. EEOC, 419 F. Supp. 814, 12 Fair Empl. Prac. Cas. \. .

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~” Case 1:23-cv-00709-CDB Document1 Filed 05/08/23 Page 6 of 15

as

(BNA) 1729 (E.D. Va. 1976).
5. Necessity of agency action

In action for declaratory judgment and incidental relief under predecessor to 5 USCS § 703, federal
court does not have jurisdiction to review alleged wrong due to publication of Public Service
Responsibility of Broadcast Licensee by Federal Communications Commission since such publication
does not constitute “agency action” ‘Within meaning of Administrative Procedure Act. Hearst Radio, Inc. v.
Federal Communications Com., 167 F.2d 225, 83 U.S. App. D.C. 63 (D.C. Cir. 1948).

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- . . Case 1:28-cv-00709-CDB. Document 1 Filed 05/08/23 Page 7 of 15
pt United States Penitentiary
a Atwater, California |,
Od
mo ADMINISTRATIVE REMEDY PROCEDURE FOR INMATES

 

“INFORMAL RESOLUTION.FORM

 

 

NOTE TO INMATE: _ You are advised that prior to recelving and filing a Request for...
" " Administrative Remedy Form BP-9 [BP-229 (13)], you MUST attemptlto informally, .
resolve. your.complaint through your Correctional Counsélor. Briefly state ONE
complaint below and list what efforts you have made to resolveyour complaint _
informally and state the names of staff contacted. The ORIGINAL BP-8 must be
attached should you choose to filea BP-9. = Po

Issued By: : ve (Initials of Correctional Counsetor)
. Date Issued to the Inmate:, \-U5:23 0

INMATE’?S COMMENTS: . ot ‘
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PAGE 001 OF 001 *

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DRUG PGMS
171 NAME....: SULTON, TRAVIS SANTALE
FUNCTION: PRT FORMAT:
DESCRIPTION | START DATE/TIME
DRUG EDUCATION WAIT-RQ HIST 09-21-2022
DRUG TRANS SERVICES DECLINE 08-26-2020
MENTAL HEALTH TX-NOT REFERRED 09-02-2020
18 USC 3621° RELEASE INELIGIBLE 09-21-2018
“FOLLOWUP SERVICES PARTICIPANT — 01-07-2020!
DRUG EDUCATION COMPLETE ° 10-18-2016
RESIDENT DRUG TRMT FAIL-OUTCOM 08-26-2020
RES DRUG TRMT CQMP/TRANS REQD 01-07-2020
COMMUNITY TRAN SERV PARTIC+VOE 08-25-2020
RESIDENT DRUG TRMT PARTICIPANT 03-12-2020
RES DRUG TRMT COMP/TRANS REQD/ 01-07-2020
RESIDENT DRUG TRMT PARTICIPANT 11-27-2018
RESIDENT DRUG TRMT WAITING ° 08-14-2018
08-02-2018

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04-10-2023
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STOP DATE/TIME

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: Case 1:23-cy- 00709-CDB Document 1 Filed 05/08/23 Page 10 of 15

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at o[r-® REJECTION NOTICE - ADMINISTRATIVE REMEDY

DATE: MARCH 7, 2023

FROM: Ct cesoaantve REMEDY COORDINATOR
ATWATER USP

TO : TRAVIS SANTALE SULTON, 27705-171
' -.ATWATER USP UNT: ‘5A QTR: E54-223U
P.O. BOX 019001 ,
ATWATER, CA 95301

FOR THE REASONS LISTED BELOW, THIS ADMINISTRATIVE REMEDY REQUEST
IS BEING REJECTED AND RETURNED TO YOU. YOU SHOULD INCLUDE A COPY
OF THIS NOTICE WITH ANY FUTURE CORRESPONDENCE REGARDING THE REJECTION.

/ . 7” ‘ c

REMEDY ID : 1151622-F2 ADMINISTRATIVE REMEDY REQUEST

DATE RECEIVED : MARCH 1, 2023
SUBJECT 1 : OTHER SENTENCE COMPUTATION
SUBJECT 2 : ;

INCIDENT RPT NO:
REJECT REASON 1: YOU DID NOT PROVIDE A COPY OF YOUR INSTITUTION
\. ADMINISTRATIVE REMEDY REQUEST (BP-9) FORM OR A COPY
OF THE (BP-09) RESPONSE FROM THE WARDEN.

REJECT REASON 2: SEE REMARKS.

REJECT REASON 3:°YOU MAY RESUBMIT YOUR REQUEST: IN PROPER FORM WITHIN
os . 5 DAYS OF THE DATE OF THIS REJECTION NOTICE.

REMARKS : PLEASE RE-SUBMIT ALL ORIGINAL DOCUMENTS WITH. THE NEW
BP-9, TO INCLUDE ALL, PREVIOUSLY SUBMITTED BP-9S WITH
CORRESPONDING REJECTION RECEIPTS.
 

  
 
  
   

 

all=point pens If attachments are needed, submit four copies.. Additional instructions on-reverse....
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WARDEN OR REGIONAL DIRECTOR
. Your appeal must be received in the Regional Office within 20-calendar days of the date of this response.°

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CASE NUMBER:

 

 

REG. NO. UNIT INSTITUTION

 

 

 

RECIPIENT’S SIGNATURE (STAFF MEMBER) BP-229(13) ,
, . APRIL 1982
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Case 1:23-cv-00709-CDB Document1 Filed 05/08/23 Page 12 of 15 a

Requirement for submission of this request directly to the Regional Director, Bureau of Prisons. t

When the inmate believes that he may be adversely affected by submission of this request at the institution level because of the sensitive nature 0”
complaint, he may address his complaint to the Regional Director. He must clearly indicate a-valid reason for not initially bringing his complaix
the attention of the institution staff.

If the inmate does not provide a reason, or if the Regional Director or his designee believes that the reason supplied is not adequate, the inmate will
be notified that the complaint has not been accepted. The form sent to the Regional Director will not be returned. However, the inmate may prepare
a new request and submit it at the institution if he wishes.
 

 

 

“ -“ Case 1:23-cv-00709-CDB Document1 Filed 05/08/23 Page 13 of 15

   

REJECTION NOTICE ~ ADMINISTRATIVE REMEDY

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FROM: 0 connie REMEDY COORDINATOR :
ATWATER USP ,

TO : TRAVIS SANTALE SULTON, 27705-1171
ATWATER USP UNT: SA QTR: B54-230U
P.O. BOX 019001
ATWATER, CA 95301

FOR THE REASONS LISTED BELOW, THIS ADMINISTRATIVE REMEDY REQUEST
IS BEING REJECTED AND RETURNED TO YOU. YOU SHOULD INCLUDE A COPY
OF THIS NOTICE WITH ANY FUTURE CORRESPONDENCE REGARDING THE REJECTION.

- REMEDY ID > 1151622-F1 ADMINISTRATIVE REMEDY REQUEST
DATE RECEIVED : FEBRUARY 15, 2023
SUBJECT 1 : OTHER SENTENCE COMPUTATION
SUBJECT 2

INCIDENT RPT NO: , .

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REJECT REASON 2: YOU MAY RESUBMIT YOUR REQUEST IN PROPER FORM WITHIN

 
 
    

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REJECT REASON 3: SEE REMARKS.

REMARKS

 

 
 

 

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Sheet 1
UNITED STATES DISTRICT COURT
District of South Carolina

UNITED STATES OF AMERICA Judgment in a Criminal Case

(For Revocation of Probation or Supervised Release)

v. \.
TRAVIS SANTALE SULTON . ”
a/k/a “Hip” Case No: 3:14-736 (6) _
USM No: 27705-171

Jenny Smith, AFPD

Deféndant’s Attorney
THE DEFENDANT:

ME admitted guilt or did not contest to violation of conditions of the'term of probation.
L] was found in violation of condition(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

 

 

 

 

 

Violation Number Nature of Violation Violation Ended

1 ' New Criminal Conduct May 5, 2022

2 New Criminal Conduct / May 5. 2022

3 New Criminal Conduct May 5, 2022

4 New Criminal Conduct May 5, 2022

5 New Criminal Conduct May 5, 2022

6 New Criminal Conduct April 28, 2022

7 Use/Possession of Illegal Drugs December 28, 2020
3 Use/Possession of Illegal Drugs March 2, 2022

9 New Criminal Conduct ‘December 28, 2020
10 ‘New Criminal Conduct June 3, 2021

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully.paid. If
ordered .to pay'Testitution, the defendant miiét Hotify the court and United States attorney of any material changes in economic
circumstances. ” .

 

 

coe June 29,2022
Last Four Digits of Defendant's Sac. Sec, No:: - . Date of Imposition of Judgment
. 1625 ete - -
Defendant's Year of Birth: . we o
1983 . _. s/Terry L. Wooten
City and State of Defendant's Residence: . . Signature of Judge

Columbia, South Carolina

Terry L. Wooten, Senior United States District Judge
Name and Title of Judge

7/5/2022

 

Date

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Case 1:23-cv-00709-CDB Document1 Filed 05/08/23 Page 15 of 15

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[A] court may grant a preliminary injunction if a plaintiff shows (1) a strong{2007 U.S. Dist.
LEXIS 2} likelihood of success on the merits, (2) the possibility of irreparable injury to plaintiff if -
preliminary relief is not granted, (3) a balance of hardships favoring the plaintiff, and (4).
advancement of the public interest (in certain cases). Alternatively, a court may grant a
preliminary injunction if a plaintiff demonstrates. either a combination of probable success on the
merits and the possibility of irreparable harm or that serious questions are raised and the balance
of hardships tips sharply in his favor.Earth Island Institute v. United States Forest Svc., 442 F.3d-
* 1147, 1158 (9th Cir. 2006) (internal citations and quotations omitted).

The Anti-Injunction Act provides,

6yicases: . 1

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